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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY

CREIGHTON TAKATA, Individually and on — :
behalf of all others similarly situated, : Civil Action No.: 18-2293-GC-RLS

Plaintiff, : CONSOLIDATED ACTION

v.

RIOT BLOCKCHAIN, INC. F/K/A, BIOPTIX, STIPULATION AND
INC., JOHN O’ROURKE, and JEFFREY G. : ORDER
MCGONEGAL, :

Defendants.

 

Lead Plaintiff Dr. Stanley Golovac (“Lead Plaintiff’) and Defendants Riot Blockchain, Inc.
(“Riot”), John O’Rourke, Michael Beeghley, and Barry Honig (together “Defendants,” and
together with Lead Plaintiff, the “Parties”), by and through their undersigned counsel, hereby agree
and jointly propose this stipulation:

WHEREAS, on February 17, 2018, Creighton Takata (“Takata”) initiated the above
captioned action against Riot, O’Rourke, and Jeffrey McGonegal, alleging violations of the
Securities Exchange Act of 1934 (ECF No. 1);

WHEREAS, the Court appointed Dr. Stanley Golovac as Lead Plaintiff and the law firm
of Motley Rice LLC as Lead Counsel on November 6, 2018 (ECF No. 40);

WHEREAS, Lead Plaintiff filed a Complaint against Riot, Honig, O’Rourke, McGonegal,
and Beeghley on January 15, 2019 (ECF No. 52);

WHEREAS, Riot, Honig, O’Rourke, McGonegal, and Beeghley moved to dismiss the
Complaint on March 18, 2019 (ECF Nos. 66, 67);

WHEREAS, Lead Plaintiff filed a Consolidated Amended Class Action Complaint for

alleged violations of federal securities laws on May 8, 2019 (ECF No. 72), adding Catherine
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DeFrancesco, John Stetson, Mark Groussman, Andrew Kaplan, Mike Dai, Jason Les, and Eric So
to the action;

WHEREAS, Lead Plaintiff filed a corrected Consolidated Amended Class Action
Complaint (the “Amended Complaint”) on May 9, 2019 (ECF No. 73);

WHEREAS, Defendants, DeFrancesco, Stetson, Groussman, Kaplan, Dai, Les, and So
filed motions to dismiss the Amended Complaint on September 3 (ECF Nos. 107, 108, 112),
September 5 (ECF No. 118), September 30 (ECF Nos. 131, 132), and October 1, 2019
(ECF No. 134);

WHEREAS, Chief Judge Freda L. Wolfson dismissed the Amended Complaint without
prejudice in an Order dated April 30, 2020 (ECF No. 167);

WHEREAS, Magistrate Judge Zahid N. Quraishi granted Lead Plaintiff leave to file a
Consolidated Second Amended Class Action Complaint (the “Second Amended Complaint”) in a
Memorandum Opinion and Order dated December 23, 2020 (ECF No. 187);

WHEREAS, Lead Plaintiff filed the Second Amended Complaint on December 24, 2020
(ECF No. 188), naming Defendants, Groussman, DeFrancesco, and Stetson, and omitting Kaplan,
Dai, Les, and So;

WHEREAS, Defendants, Groussman, DeFrancesco, and Stetson filed motions to dismiss
the Second Amended Complaint on February 8, 2021 (ECF Nos. 192, 194, 195, 196, 197);

WHEREAS, Judge Zahid N. Quraishi requested supplemental briefing on Defendants,
Groussman, DeFrancesco, and Stetson’s motions to dismiss on February 28, 2022 (ECF No. 216),
which the Parties submitted on March 14, 2022 (ECF Nos. 217-222);

WHEREAS, Judge Zahid N. Quraishi dismissed the Second Amended Complaint without

prejudice in an Opinion (ECF No. 223) and Order (ECF No. 224) dated April 8, 2022, in which it
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was ordered that Lead Plaintiff may file a separate motion seeking leave to amend the Complaint
in a manner consistent with the Opinion;

WHEREAS, Lead Plaintiff filed a Motion for Leave to File [Proposed] Consolidated Third
Amended Class Action Complaint for Violations of the Federal Securities Laws (“Motion for
Leave to Amend”) (ECF No. 228) on May 9, 2022, with the proposed complaint now naming only
Defendants, and omitting Groussman, DeFrancesco, and Stetson;

WHEREAS, Defendants believe that the viability of Lead Plaintiffs [Proposed]
Consolidated Third Amended Class Action Complaint for Violations of the Federal Securities
Laws (“Third Amended Complaint”) should be evaluated by the pleadings standards contained in
the Private Securities Litigation Reform Act (“PSLRA”) through a motion to dismiss, and that
stipulating to permit Lead Plaintiff to file the Third Amended Complaint promotes judicial
economy and efficiency and saves the Parties the cost of preparing and filing oppositions to, and
replies in further support of, Lead Plaintiffs Motion for Leave to Amend;

WHEREAS, Defendants believe that Lead Plaintiff's Third Amended Complaint is
nonetheless deficient under the PSLRA and Rule 9(b) and, thus, intend’to file motion(s) to dismiss
Lead Plaintiff's Third Amended Complaint;

THEREFORE, IT IS HEREBY STIPULATED AND AGREED, among the Parties,
subject to the Court’s approval, that:

|. Lead Plaintiff may file the Third Amended Complaint on or before May 27, 2022;

2. Defendants shall move to dismiss the Third Amended Complaint on or before
July 18, 2022;

3. Lead Plaintiff shall file oppositions to any motions to dismiss on or before

September i, 2022;
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4. Defendants shail file replies to Lead Plaintiffs oppositions on or before

October 3, 2022.

Dated: May 23, 2022

PAUL HASTINGS LLP

‘Ss! Chad J_ Peterman

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Counsel for Defendant Barry Honig

SO ORDERED this N day ot Now 2022.

Hon. Rukhsanah L. Singh U.S.M.J.

The clerk of court is hereby directed to terminate Docket Entry No. 228.

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